              Case 1:07-cv-00090-RDB Document 34 Filed 04/21/08 Page 1 of 1



                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MARYLAND


VALERIE DEHAECK, et al.                              *

                              Plaintiff(s)           *
                                                                CIVIL NO. RDB 07-90
           vs.                                       *

GINA LOUIE, M.D., et al.                             *

                             Defendant(s)            *


                                             SETTLEMENT ORDER
                                              (LOCAL RULE 111)

           This Court has been advised by the parties that the above action has been

settled, including all counterclaims, cross-claims and third-party claims, if any.

Accordingly, pursuant to Local Rule 111 it is ORDERED that:

           This action is hereby dismissed and each party is to bear its own costs unless

otherwise agreed, in which event the costs shall be adjusted between the parties in

accordance with their agreement. The entry of this Order is without prejudice to the

right of a party to move for good cause within 60 days to reopen this action if settlement

is not consummated. If no party moves to reopen, the dismissal shall be with prejudice.

           IT IS FURTHER ORDERED that:

           The Clerk of the Court shall mail copies of this Order to counsel of record.


Date: April 21, 2008                                     /s/
                                                         Richard D. Bennett
                                                         United States District Judge




U.S. District Court (Rev. 5/2001)
